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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
CHARMlAN A. WRlGHT and Husband )
JAMES L. WRIGHT, )
Plaintiffs, §
VS. § No. 05-1160-T/An
MERCK & CO., lNC., ET AL., §
Det`endants. §

 

ORDER GRANTING MOTION TO STAY

 

Plaintiffs Charmian A. Wright and James L. Wright filed this action in the Circuit
Court ofMadison County, Tennessee, on May ll, 2005, against l\/lerck and Company, Inc.,
maker of the prescription drug known as Vioxx. Plaintiffs also named as defendants certain
local Merck sales representatives and pharmacists Merck removed the action to this Court
on June 10, 2005, on the basis of diversity of citizenship, contending that the non-diverse
defendants Were fraudulently joined in an attempt to defeat diversity jurisdiction

Also on June 10, 2005, Merck filed a motion to stay all further proceedings pending
a decision by the J udicial Panel on Multidistrict Litigation (“MDL Panel”) on Whether this
case should be transferred to the United States District Court for the Eastern District of

Louisiana as a “tag-along” action in MDL Proceeding No. 1657, ln re Vioxx Product

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with sale 53 and/errs (a) FRCP on _:LMQS_

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Liability Litigation. Plaintiffs filed a motion to remand the action to state court on June 20,
2005.

The l\/[DL Panel issued the first Transfer Order establishing MDL-1657 on February
16, 2005. In that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as Well as in any other l\/[DL-1657 actions can be

presented to and decided by the transferee judge See, e.g., fn re Ivy, 901 F.2d

7 (2d Cir. 1990); 111 re Prudential fnsurance Compcmy of America Sales

Practices Litigati`on, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
Transf`er Order, at 2 (J.P.M.L. Feb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiffs’ motion to remand E JPML R. 1.5. The decision Whether
to grant a stay is Within the inherent power of the Court and is discretionary S_ee Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. Merck & Co. lnc., No. l:O4CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has
been filed. E.g., Anderson v. Merck & Co.r Inc., No. 4:05-cv-89 (E.D. Mo. Mar. 16, 2005);

McCrerev v. Merck & Co., Inc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

 

& Co. lnc., No. 05-0121 (S.D. Tex. Feb. 23, 2005),

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There are several other Vioxx cases already pending in this district, and possibly
thousands more in other districts. ln many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or Will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or Will be transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding Will
promote judicial economy and conserve judicial resources In addition, the Court finds that
any prejudice to the plaintiffs resulting from a stay Would be minimal. However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer

decision is GRANTED. The motion to remand is deferred to the transferee court.

IT lS SO ORDERED.

YN(>Q»WM

.TODD
DSTATES DISTRICT JUDGE

A¢/wv_…§

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
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Steven G. Ohrvall

H[LL BOREN- Jackson
1269 N. Highland Ave.
P.O. Box 3539

Jackson, TN 38303--353

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/lemphis7 TN 38119

J ames L. &quot',Larry& Wright
JACKS LAW FIRM

111 Congress Ave.

Ste. 1010

Austin7 TX 78701

Honorable J ames Todd
US DISTRICT COURT

